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 7   Attorneys for Defendant Cox Communications

 8
                                 UNITED STATES DISTRICT COURT
 9
                                          DISTRICT OF NEVADA
10

11
      WILLIAM BERRY,                                      CASE NO. 2:20-cv-02130-RFB-BNW
12
                             Plaintiff,
13
      vs.                                                    STIPULATION EXTENDING TIME
14                                                               FOR DEFENDANT COX
      NATIONAL CONSUMER TELECOM                      &       COMMUNICATIONS TO RESPOND
15    UTILITIES EXCHANGE, INC;                                      TO COMPLAINT
      COX COMMUNICATIONS,
16                                                                       (First Request)
                             Defendants.
17

18

19          Defendant COX COMMUNICATIONS (“Cox”) and Plaintiff William Berry (“Plaintiff;”
20   collectively, the “Parties”), by and through their counsel, hereby stipulate and agree as follows:
21       1. Plaintiff filed his Complaint on November 19, 2020 (ECF No. 1).
22       2. Cox’s response to Plaintiff’s Complaint is currently due on December 15, 2020.
23       3. The Parties are currently in discussions regarding the applicability of an arbitration
24   agreement to this matter.
25       4. So as to allow the Parties sufficient time to discuss the applicability of the arbitration
26   agreement to this matter and potentially avoid the cost of related motion practice, the Parties hereby
27   stipulate and agree that Cox shall have an additional thirty (30) days, up to and including January
28   14, 2021, in which to respond, move or otherwise plead to the Complaint.


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 1       5. This stipulation, and the extension requested herein, is sought in good faith and not for

 2   purposes of delay.

 3    DATED this 16th day of December, 2020.          DATED this 16th day of December, 2020.

 4    KRIEGER LAW GROUP, LLC                          DICKINSON WRIGHT PLLC
 5
      By: /s/: Shawn Miller                           By: /s/: Brooks T. Westergard
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12    Attorneys for Plaintiff William Berry           Attorneys for Defendant Cox Communications
13

14                                              ORDER

15                                  IT IS SO ORDERED
                                                   IT IS SO ORDERED:
                                    DATED: 3:25 pm, December 18, 2020
                                                     _______________________________
16
                                                           UNITED STATES DISTRICT JUDGE
17
                                                  DATED: _______________________
18                                  BRENDA WEKSLER
19   4823-7364-3988 v2 [69311-15]   UNITED STATES MAGISTRATE JUDGE

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